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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 MISBAH JOY JOSEPH,
                                                              Civil No.: 18-cv-3839 (KSH) (CLW)
                        Plaintiff,

           v.
 AXA EQUITABLE LIFE INSURANCE
 COMPANY,                                                                    ORDER
                        Defendant.



         THIS MATTER having come before the Court upon a report and recommendation filed by

Magistrate Judge Cathy Waldor (D.E. 16), recommending that the Court grant the motion (D.E. 8) of

defendant AXA Equitable Life Insurance Company (“AXA”) to transfer the venue of this case to the

United States District Court for the District of New Jersey; and the Court having reviewed Judge

Waldor’s report and recommendation in accordance with Fed. R. Civ. P. 72 and L. Civ. R. 72.1; and

neither party having objected to Judge Waldor’s report and recommendation; and for the reasons set forth

in Judge Waldor’s report and recommendation and the opinion filed herewith; and good cause having

been shown,

         IT IS on this 14th day of November 2018,

         ORDERED that Judge Waldor’s report and recommendation (D.E. 16) is accepted in whole; and

it is further

         ORDERED that AXA’s motion (D.E. 8) is GRANTED; and it is further

         ORDERED that the Clerk of the Court shall transfer this action to the United States District

Court for the Southern District of New York.



                                                                  /s/ Katharine S. Hayden
                                                                  Katharine S. Hayden, U.S.D.J.
